Case 2:04-cv-02700-.]DB-dkv Document 15 Filed 06/06/05 Page 1 of 2 Page|D 34

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FoR THE WESTERN DISTRICT oF TENNESSEE
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ALLISON DEVANTE and “-D- U‘{" T|"L !`-$El-APHIS

]OREAL DEVANTE,
Plaintiffs,

v. No. O4-2700-B/V

LES BROWNLEE, SECRETARY OF THE
UNITED STATES ARMY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Stay Discovery filed on May 26, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections. Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a waiver of that objection w Rule 72(a), Federal Rules of Civil Procedure.

1‘€\
IT IS SO ORDERED this (’ day of June, 2005 .

/B…

` J. DANIEL BREEN\
NITED sTATEs DISTRICT JUDGE

 

Th!s document entered on the dockez€sheet in compiiance

with note 53 and/or 79(3) FFioP on ' 713 §

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02700 Was distributed by faX, mail, or direct printing on
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Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

l\/lemphis7 TN 38103

Harriett M. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

